                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
                              Plaintiff,       )
                                               )
                       v.                      )             No. 12-4044-02-CR-C-FJG
                                               )
BEROLDO ALMAZAN,                               )
                                               )
                              Defendant.       )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Beroldo Almazan, by consent, appeared before the undersigned on June 24,
2013, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule 72(c)(1)(j),
and 28 U.S.C. § 636, and has entered a plea of guilty to Counts One and Two of the Indictment
filed on June 27, 2012. After cautioning and examining the defendant, under oath, in accordance
with the requirements of Rule 11, it was determined that the guilty plea was made with full
knowledge of the charges and the consequences of pleading guilty, was voluntary, and that the
offenses to which the defendant has plead guilty are supported by a factual basis for each of the
essential elements of the offenses.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Beroldo Almazan be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 25th day of June, 2013, at Jefferson City, Missouri.



                                               /s/   Matt J. Whitworth
                                               MATT J. WHITWORTH
                                               United States Magistrate Judge




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